Case 1:19-cv-03644-LTB-KMT Document 16 Filed 03/16/20 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 19–cv–03644–LTB–KMT


  TRACY L. WORSHAM,

         Plaintiff,

  v.

  ALLIED INTERNATIONAL CREDIT CORP.,

         Defendant.


                                               ORDER



         In accordance with the guidance from the CDC and the CDPHE, this court is attempting

  to minimize the need for litigants, attorneys and court personnel to gather in or near the Colorado

  Springs court facility. The court itself remains operational and is fully staffed by employees

  working remotely. Telephone conferences, however, require the physical presence of several

  court employees in order to record the proceedings. Therefore, the court is opting to proceed

  with scheduling the case deadlines without a Fed. R. Civ. P. 16 conference.

         The parties have filed a Proposed Scheduling Order [Doc. No. 15] which this court has

  carefully reviewed. The scheduling provisions agreed upon by the parties1 are acceptable to the



  1
   Any provisions that were proposed by one party and not specifically agreed to by the other
  parties, nor specifically addressed and decided by the court are deemed disputed and not adopted
  by the court at this time.
Case 1:19-cv-03644-LTB-KMT Document 16 Filed 03/16/20 USDC Colorado Page 2 of 2




  court with one exception. The court has added a limitation of twenty-five (25) interrogatories,

  twenty-five (25) requests for production of documents and twenty-five (25) requests for

  admission for each side. In all other respects, the proposed Scheduling Order is adopted.

      ORDERED:The Scheduling Conference now set for March 23, 2020 at 11:45 a.m. is
  VACATED.


         ORDERED: A Telephonic Final Pretrial Conference is set for January 11, 2021 at
  10:00 a.m. before Magistrate Judge Kathleen M. Tafoya. The parties shall initiate a
  conference call and contact chambers at 719-575-0328 at the scheduled time. The parties
  are further directed to use a LAND LINE; NO CELLULAR, CORDLESS OR SPEAKER
  PHONES ARE PERMITTED. A proposed Final Pretrial Order shall be prepared by the
  parties and filed with the court no later than January 4, 2021.

         A Trial Preparation Conference and trial dates will be set by Senior District Judge Lewis

  T. Babcock. The parties anticipate a 2-3 day jury trial.

         Dated March 16, 2020.




                                                  2
